 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  

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DAVID ROMANKOW, individually and on behalf of ali"*
others similarly situated; JACLYN ROMANKOW, :

 

 

 

individually and on behalf of all others similarly situated, : MEMORANDUM DECISION
«as AND ORDER
Plaintiffs,
; 20 Civ. 4616 (GBD)
-against-

NEW YORK UNIVERSITY,

Defendant.

GEORGE B. DANIELS, United States District Judge:

The October 15, 2020 initial conference is cancelled. This Court will hear argument on only
Plaintiff Daniel Zagoria’s motion to consolidate and appoint lead counsel in 20 Civ. 3610 (GBD)
(SLC), (ECF No. 7), on November 12, 2020 at 9:45 a.m.

Dated: New York, New York

October 8, 2020
SQ-ORDERED.

May, B Dorwk

ORG# B. DANIELS
United States District Judge

 
